Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 1 of 45




                                   EXHIBIT D
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 2 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-02
SIZE:                                 2 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-05
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 3 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000

GENERIC
      BUMETANIDE
        NAME:

NDC/HRI/UPC:                          55390-0501-10
SIZE:                                 10 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 4 of 45
Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-02
SIZE:                                 2 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-05
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 5 of 45
Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC/HRI/UPC:                          55390-0501-10
SIZE:                                 10 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 6 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-02
SIZE:                                 2 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-05
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 7 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC/HRI/UPC:                          55390-0501-10
SIZE:                                 10 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 8 of 45
Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.               Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 9 of 45
Red Book(TM) for Windows®                                                                         Release: July, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.               Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 10 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:                      2 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 11 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:                      10 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 12 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:                      2 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 13 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:                      10 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 14 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:                      2 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 15 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:                      10 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 16 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0808-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0809-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 17 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000

GENERIC
      CYTARABINE
        NAME:

NDC/HRI/UPC:                          55390-0806-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0807-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 18 of 45
Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0808-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0809-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 19 of 45
Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001

GENERIC
      CYTARABINE
        NAME:

NDC/HRI/UPC:                          55390-0806-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0807-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 20 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0808-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0809-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 21 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2001

GENERIC
      CYTARABINE
        NAME:

NDC/HRI/UPC:                          55390-0806-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0807-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 22 of 45
Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.               Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 23 of 45
Red Book(TM) for Windows®                                                                         Release: July, 2001

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.               Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 24 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 25 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 26 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 27 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 28 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 29 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 30 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0142-10
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  Y
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0805-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 31 of 45
Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0142-10
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  Y
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0805-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 32 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0805-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0142-10
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  Y
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 33 of 45
Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.               Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 34 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                   168.5000           5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 35 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 36 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA




Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 37 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0818-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0824-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 38 of 45
Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0818-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0824-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA




Copyright © 2000, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 39 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0818-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0824-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 40 of 45
Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.               Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 41 of 45
Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                  350.00                   35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                   Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 42 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             350 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)

Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 43 of 45
Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      LEUCOVORIN
        NAME:    CALCIUM

NDC:                55390-0825-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                 137.95                  137.9500           10/1/2001
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             10 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0826-01
SIZE:                      50 ml
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 195.00                     3.9000          10/1/2001
DIR
HCFA




Copyright © 2001, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                  Page 2
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 44 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             350 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)

Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 1
                 Case 1:01-cv-12257-PBS Document 6605-8 Filed 10/21/09 Page 45 of 45
Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      LEUCOVORIN
        NAME:    CALCIUM

NDC:                55390-0825-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                 137.95                  137.9500           10/1/2001
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             10 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0826-01
SIZE:                      50 ml
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 195.00                     3.9000          10/1/2001
DIR
HCFA




Copyright © 2002, Medical Economics Company, Inc. used herein under license by Micromedex, Inc.                Page 2
